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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      NEWNAN DIVISION


UNITED STATES OF AMERICA,
                                         CRIMINAL ACTION FILE
v.
                                         NO. 3:15-cr-12-TCB
CHARLES CARROLL,
                                         CIVIL ACTION FILE
     Defendant.
                                         NO. 3:19-cv-77-TCB


                                ORDER

     This case comes before the Court on Magistrate Judge Regina D.

Cannon’s report and recommendation (the “R&R”) [87], which

recommends denying Defendant Charles Carroll’s motion [82] to vacate,

set aside, or correct his sentence under 28 U.S.C. § 2255 and denying a

certificate of appealability. Carroll has filed objections [90]. The

objections are due to be denied as untimely, but the Court will

nevertheless consider them on the merits.

     A district judge has a duty to conduct a “careful and complete”

review of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d

732, 732 (11th Cir. 1982) (per curiam) (quoting Nettles v. Wainwright,
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677 F.2d 404, 408 (5th Cir. Unit B 1982)). This review may take

different forms, however, depending on whether there are objections to

the R&R. The district judge must “make a de novo determination of

those portions of the [R&R] to which objection is made.” 28 U.S.C.

§ 636(b)(1)(C). In contrast, those portions of the R&R to which no

objection is made need only be reviewed for “clear error.” Macort v.

Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006) (per curiam) (quoting

Diamond v. Colonial Life & Accident Ins., 416 F.3d 310, 315 (4th Cir.

2005)).1

      “Parties filing objections must specifically identify those findings

objected to. Frivolous, conclusive or general objections need not be

considered by the district court.” Nettles, 677 F.2d at 410 n.8. “This rule

facilitates the opportunity for district judges to spend more time on

      1 Macort dealt only with the standard of review to be applied to a magistrate’s
factual findings, but the Supreme Court has indicated that there is no reason for
the district court to apply a different standard to a magistrate’s legal conclusions.
Thomas v. Arn, 474 U.S. 140, 150 (1985). Thus, district courts in this circuit have
routinely reviewed both legal and factual conclusions for clear error. See Tauber v.
Barnhart, 438 F. Supp. 2d 1366, 1373–74 (N.D. Ga. 2006) (collecting cases). This is
to be contrasted with the standard of review on appeal, which distinguishes
between the two. See Monroe v. Thigpen, 932 F.2d 1437, 1440 (11th Cir. 1991)
(holding that when a magistrate’s findings of fact are adopted by the district court
without objection, they are reviewed on appeal under a “plain error standard” while
questions of law always remain subject to de novo review).

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matters actually contested and produces a result compatible with the

purposes of the Magistrates Act.” Id. at 410.

     After conducting a complete and careful review of the R&R, the

district judge “may accept, reject, or modify” the magistrate judge’s

findings and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681

F.2d at 732. The district judge “may also receive further evidence or

recommit the matter to the magistrate judge with instructions.” 28

U.S.C. § 636(b)(1)(C).

     Carroll’s objections merely repeat the grounds for relief he put

forth in his initial § 2255 motion and do not specifically respond to the

R&R’s findings and conclusions. Having conducted a careful and

complete de novo review of the R&R, the Court finds that its factual and

legal conclusions were correct and agrees with the well-reasoned

recommendation of the magistrate judge. Accordingly, Carroll’s

objections [90] are overruled and the Court adopts as its Order the R&R

[87]. Carroll’s motion [82] to vacate is denied. This Court further agrees

with the magistrate judge that this Court’s resolution of the issues

presented in the petition is not debatable by jurists of reason.

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Accordingly, a certificate of appealability is denied. The Clerk is

directed to close the civil action.

      IT IS SO ORDERED this 5th day of November, 2020.



                                      ____________________________________
                                      Timothy C. Batten, Sr.
                                      United States District Judge




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